     Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 1 of 24




                         UNITED STATES DISTRICT COURT
                        DISTRICT OF THE VIRGIN ISLANDS
                      DIVISION OF ST. THOMAS AND ST. JOHN


                                          )
DAVID A. WHITAKER                         )
                                          )
                    Plaintiffs,           )
                                          )
            v.                            )       Civil Action 3:20-cv-00024
                                          )
JAMES C. MARTIN                           )
                                          )
                    Defendant.            )



                                     COMPLAINT



       COMES NOW, PLAINTFF, DAVID WHITAKER (“PLAINTIFF” or

“WHITAKER”), by and though the undersigned counsel, Robert V. Goldsmith, III,

and files this COMPLAINT against Defendant JAMES MARTIN (“MARTIN” or

“DEFENDANT”) and as grounds for the same, states as follows:

                                    NATURE OF ACTION

1.     This is a breach of contract, fraud, and Fair Debt Collection Practices Act

       action, primarily, arising out a five-year leasehold between Plaintiff and

       Defendant.

                                  JURISDICTION AND VENUE

2.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)

       because this is an action between citizens of different states, and the amount


                                              1
     Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 2 of 24



       in controversy exceeds $75,000.00. In addition, this Court has subject matter

       jurisdiction pursuant to 28 U.S.C. § 1331 and 15 U.S.C § 1692 et seq., as well

       other federal law.

3.     Venue properly lies in the District of the Virgin Islands pursuant to 28 U.S.C.

       § 1391(b)(2) and (3), and 9 U.S.C. § 9, because the realty made the subject of

       the contract, and the actions related to the same exist and occurred in St.

       Thomas, Virgin Islands.

                                    THE PARTIES

4.     PLAINTIFF is an individual who, at all times material to this action, resided

       in Massachusetts and who entered into a lease for a vacation home in St.

       Thomas, Virgin Islands that would be used for commercial purposes in

       support of his business.

5.     DEFENDANT is an individual who, upon information and belief,

       permanently resides in St. Thomas, U.S. Virgin Islands. DEFENDANT is a

       citizen of the U.S. Virgin Islands.

6.     NONPARTY, GINGER MARTIN is the spouse of DEFEDNANT and may be

       referred to herein collectively with DEFENDANT as “MARTIN.”

                                       FACTS

                                     THE LEASE

7.     On or about December 18, 2019, after discovering a rental offering on

       Craigslist.com, Plaintiff and Defendant entered into a five-year contractual

       agreement for the lease of property described as Villa Alhambra, St. Peter,



                                             2
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 3 of 24



        located at 3A-20 and 21 Estate Peter, St. Thomas, Virgins Islands (the

        “Property”) that included the “shar[ing] of the parking, pool, and spa

        facilities” (the “Lease”) A copy of the Lease is attached hereto and

        incorporated herein as Exhibit A.

8.      Under the terms of the lease, Whitaker was to have access to the Property,

        with all possessory rights and rights of quiet enjoyment for a period of sixty

        (60) months and in return, Whitaker would make monthly payments of

        $9,650.00. The Lease also provided that Whitaker was also given a ““Right

        of First Refusal” when the Property and Villas are placed on the marker

        “FOR SALE” for the 5-year lease period.” During the roughly two months

        Whitaker was in the home, he paid Martin the total sum of Forty-five

        Thousand Four Hundred and Twenty-five ($45,425.00) dollars.

9.      As set out below and based on the expectation of a five-year lease, Whitaker

        invested substantial money in materials and labor repairing and improving

        the Property, totaling well in excess of One Hundred Thousand ($100,000)

        dollars during the approximately two (2) months he was allowed on the

        premises.

10.     On February 26, 2020, in violation of the Fair Debt Collection Practices Act,

        Martin sent a letter demanding payment on an inflated and inaccurate

        amount for rent and services not provided and instructing Whitaker to pay

        $23,547,35 or leave, but also to pay and leave. A copy of the Eviction Letter

        is attached hereto as Exhibit B. The letter further indicated Whitaker was



                                           3
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 4 of 24



        in breach of the lease by having dogs on the Property and because he made

        changes to the Property. Martin informed Whitaker that a police report had

        been field for the pruning work Whitaker performed on the grounds.

11.     On March 1, 2020, Martin changed the locks and forbade entry onto the home

        with some of Whitaker’s possessions remain on Property, including

        medication and cash.

12.     Counsel for Whitaker notified counsel for Martin of the urgent need for the

        medication on March 3, 2020. Entry was denied and Whitaker was informed

        Martin was “off-island” and no one could let them in, notwithstanding the

        fact that Martin’s housekeeping and grounds crew had access. A copy of a

        letter from Whitaker’s physician is attached hereto as Exhibit C.

                   MANAGEMENT AND HANDLING OF LEASEHOLD

13.     Whitaker runs a marketing agency representing professional athletes The

        Lease, under an unnumbered section labeled “TENANTS and GUEST”

        provided that “This Alhambra the Main Villa and the Tower Villa may be

        used for business purposes.”

14.     Maid service was to be provided at a cost of $500.00 per week, Monday

        through Friday, along with removal of trash.

15.     Pets were permitted under the Lease.

16.     Electric Utility Service was to be reimbursed under the Lease.

17.     Pool, spa, and deck areas were subject to weekly inspection and cleaning.




                                          4
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 5 of 24



18.     Electricity was to be billed to tenant monthly as “reimbursement” based on

        two separate meters.

19.     Cable TV was to be billed to tenant and “reimbursed” at $175.00 monthly.

20.     Landlord was to enter the home only on reasonable notice and at reasonable

        time to make repairs, check the status of the home, and to show future clients

        three months before the termination of the lease.

21.     On December 16, 2019, Whitaker wired Martin $19,200.00 as requested by

        Martin in order to gain access to the Property.

22.     On December 18, 2020, Whitaker asked for the spa to be repaired and offered

        to pay for the repair.

23.     Martin’s spouse, Ginger Martin, provide names for repair companies to

        Whitaker, suggesting to Whitaker that it was his responsibility.

24.     On December 20, 2019, Martin emailed Whitaker an invoice on letterhead

        for James Clevenger Martin Company – Art and Architectural Management

        Company Texas – New York – Virgin Islands, requesting payment of

        $9,650.00 for January 2020 rent and $1,000.00 for two weeks of maid service.

25.     On December 20, 2020, Whitaker wired Martin $10,650.00. Martin invited

        Whitaker to his home for drinks that day.

26.     On December 21, 2020 Martin approved Whitaker’s request for the addition

        of window coverings. Whitaker paid for the change.




                                           5
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 6 of 24



27.     On December 23, 2020, Whitaker agreed to lease the “Guest House”

        separately and in addition to the Property for $500.00 per night on an as-

        needed basis and per availability.

28.     The same day Whitaker requested to replace outdoor furniture that was non-

        functional. Martin indicated an intent to throw it away and suggested

        locations to Whitaker for replacements. Whitaker replaced the outdoor

        furniture at his expense. Martin thanked him and complimented the new

        items. In the same exchange, Martin expressed and intent to replace the

        outdoor lamps.

29.     On December 26, 2020, Whitaker photographed athletes wearing their

        respective sponsors’ brands and shred the photos with Martin. While it was

        little more than a photograph in a branded tee shirt, the actions were

        expressly permitted under the lease. Martin responded that the athletes and

        Whitaker’s business would become more popular with photos on the

        Property.

30.     That same day, the house was flooded during a rain and Whitaker suffered

        a loss of property. The flooding continued each time it rained. He sent Martin

        photos of the flooding. He further noted water was coming through light

        fixtures and offered to replace.

31.     Martin acknowledged the problem, apologized, and stated that “whatever

        needs to happen, we will support.”




                                             6
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 7 of 24



32.     That same day, Martin sent correspondence offering to rent another property

        to Whitaker in Estate Harmony, US Virgin Islands.

33.     On December 30, 2019, Martin sent correspondence asking Whitaker if he

        wanted to rent the Guest House.

34.     On December 30, 2019, Martin, pleased with the tenant or the amount of

        income, or both, offered to rent the Harmony House for $200,000 for five

        years with a deposit of $34,000 “on written lease or upon return to St.

        Thomas. The security deposit is non-refundable if no lease is agreed to” and

        $17,000 per month going forward.

35.     On December 31, 2020, Martin sent correspondence to Whitaker offering

        Harmony House for $15,000 per month and added a credit against the

        purchase price of $30,000 in an effort to induce Whitaker to rent more

        property.

36.     On January 1, 2020, Whitaker asked about the spa being repaired.

37.     The same day, Whitaker asked about an unfinished room on the site. Martin

        indicated it was going to be a gym. Whitaker asked to complete the project.

        Martin replied, “Why not!!”

38.     The same day, Whitaker notified Martin the refrigerator was still not

        working, and the garbage disposal was not working.

39.     On January 5, 2020, not feeling taken advantage of, Whitaker requested the

        spa, disposal, and refrigerator be repaired.

40.     During the month of January, continued repair requests were made.



                                           7
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 8 of 24



41.     On January 9, 202, Martin sent Whitaker correspondence offering to build

        the gym, stating Whitaker would reimburse Martin for all labor and

        materials. Martin encouraged Whitaker to include his staff to save money.

42.     On January 12, 2020, Whitaker requested to add broadband fiber optic

        service to the Property. There was no fiber near the Property and installation

        would come at a significant cost to Whitaker to run lines up the mountain.

        Martin signed a letter that permitted the installation with knowledge that

        the installation and contract totaled over $40,000. Whitaker paid $16,500 to

        have fiber to have fiber optic run from the nearest point up to the Peter

        Mountain Property.

43.     The same day, Whitaker notified Martin that their guest – a family friend of

        Martin staying on Property – had fallen in the darkness and been very badly

        injured. Later, one of Whitaker’s clients also fell and was badly injured.

44.     On   January    13,   2020,   Whitaker   and Martin      exchanged    detailed

        correspondence regarding Whitaker’s replacement of damaged lighting,

        damaged carpet and other repairs, which included photos. Martin replied

        “Wow!” “Love the center[light].” “Tile came out beautiful.” and

        “Chandelier is magnificent.” To Whitaker’s statement that he would

        repair the bathroom tile, Martin responded, “Cool…thanks!” In response to

        photos of a new bathroom shower filtered water shower fixture, Martin

        stated “[We] need on up here.”

45.     On January 16, 202, Martin sent correspondence to Whitaker:



                                           8
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 9 of 24




             “First: Maid Service: Ginger will address

             Second: Pool Service (Not in Lease Agreement but tenants share)

             Third: Hot Tube (Not part of Lease Agreement but tenants share)
             NEW PUMPS & PARTS MUST BE ORDERED

             Forth: Trash Removal: Your Construction debris is not a part of
             trash removal only the household trash is removed weekly.

             Fifth: Ceiling tiles in Bathroom #1 & #2: This needs to be repaired
             but I’m not sure that the ceiling tiles are available anymore. I feel
             that rather than using the current type that is not holding due to the
             extreme humidity on the island, to repair with ceramic tile ceiling.

             Sixth: Fence Paint: I stated to Milton that the fence color is the dark
             latex brown color. Some paint has been used and additional paint
             will be required for such an extremely large project.
             Milton can arrange for more paint, but it will require reimbursement
             of all material cost and labor cost.

             David, I return at the end of the month. This is two weeks away and
             we can address any or all of these issues. Milton is happy to assist
             with any requirements, but he works for me as a maintenance
             caretaker is not an electrician or a plumber.”


46.     The same day, the Martin sent an inquiry about payment for use of the guest

        house which was not included in the lease. The request totaled approximately

        $10,000 in excess of the rent amounts already charged for the Property.

47.     Confused by the request to paint the fence and be change for the same,

        Whitaker asked for clarification and, later that day, sent the Martin

        following correspondence:

             “Ginger,

             Please know that I am simply looking to find an amicable resolution
             to some outstanding items and have no doubt that we can work
             together to accomplish that. I have also done my best to be
             understanding of James’ health and to take care of things around the

                                               9
Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 10 of 24



        property as needed, because otherwise it would adversely impact my
        use and enjoyment of this beautiful space. All things that I have
        done have been based upon our messages and urgent needs.

        Since I moved in, we have experienced water damage of the
        property due to leaks and while we were told that Minton would fix
        the leaks, he did not do that, and rather than wait for additional
        damage, I had the work done at my expense and as a result, during
        the last three heavy showers of rain and wind, the building has
        remained dry.

        While checking out the accommodations we discovered that the
        bottoms of several mattresses were covered in mold, and with your
        approval we replaced each of them. The carpet in bedroom 2 smelled
        of mold and with your approval, we removed it and replaced it with
        tile. The spa has not worked for most of our lease even though their
        use is included in the lease along with weekly inspections and
        cleaning, and while Milton has managed to fix broken toilets, the
        spa remains unusable. We also found that the showerheads were
        broken in three of the bathrooms. We replaced them and sent you
        photos of the completed work.

        Several of the showers did not have hot water when we moved in,
        however two of them have since been required (I believe by Milton)
        and one remains unusable as it does not have hot water.

        After wind damage the past few days, my guys have gone and fixed
        the damages cause by the winds.

        My workers have scrapped and painted outside walls of the
        house. They were asked my Milton to paint gutters and railings and
        today the long stone wall. I don’t believe that these repairs and
        expenses should be my responsibility which is why we are having
        this conversation.

        The walkways are dark, causing one of my guests to injure his leg
        while walking along a path, so I had solar garden lights installed and
        sent to you in a video.

        I have not even thought of charging you for any of these expenses
        I’ve paid which is why it was so surprising that your staff is asking
        us to do work at our expense and James then requesting payment
        from us for the work we paid to have done. The same though is
        true related to the gym.




                                         10
Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 11 of 24



        We paid for services such as maid service and provisioning that we
        are still not receiving and Milton expressed he does not like taking
        the trash out more than he has in the past and while I can understand
        that the trash removal service included in the lease doesn’t include
        construction debris, I would think that since I incurred the expense
        of the construction to repair your property, that I wouldn’t also have
        to pay to remove the debris as well.

        When we moved in you gave us a fair price and lease which is why
        I have been happy to improve the property when appropriate,
        however, one would think that there would be a credit due rather
        than a reimbursement due for my handling it.

        It is possible that there is just a misunderstanding here, because how
        could a landlord charge a tenant for repairs that the tenant made to
        the landlord’s property? That just doesn’t make sense. Now, a credit
        against the rent from the landlord to the tenant for taking care of the
        landlords responsibilities regarding property maintenance seems
        more appropriate, and perhaps that is what you mean by
        “reimbursement,” but I am just not sure, which is why I am writing
        to you for a better understanding.

        Is the time and expenses that I’ve incurred to repair your property
        not worth a credit? And if not, are you actually intending on
        charging me additional for those expenses I’ve incurred? And what
        about the services included in the lease that you have not provided?
        The maid service, the DISH tv (which does not work), the weekly
        cleaning of the pool and spa (which does not function)? How do you
        intend to address these items?

        Please don’t read this text as an assault on your good nature and
        beautiful property. We can work this out, but I do need you to see
        this from my perspective; I’ve leased a beautiful place that needs
        much maintenance just to be live-able, and instead of receiving
        recognition for my efforts and expense, I’m met with threats of
        additional charges beyond the expenses I’ve incurred to maintain the
        property so that I can live in it.

        Let’s find a way to work this out please, because in the short time
        I’ve gotten to know you, I know that you only have the best
        intentions as landlords and am looking forward to enjoying my time
        here on this beautiful property.


        I have canceled my video conferences and will ask Jonatan to send
        a reply to James”


                                          11
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 12 of 24



48.      On January 19, 2020, after Whitaker had expressed his dissatisfaction with

         the manner Martin was handling the relationship, Martin sent Whitaker the

         signed permission to have fiber broadband installed so that Whitaker could

         move forward with installation. This signaled to Whitaker that his concerns

         were heard and induced him to proceed with work. A copy of the signed letter

         is attached hereto as Exhibit D.

49.      On January 30, 2020, Martin returned from New York and sent

         correspondence stating, “The property looks magnificent.”

50.      On February 2, 202, Whitaker complained about being overcharged for use

         of the guest house and for being charged for main service that was not

         provided. Martin apologized and indicated the maid may not have provided

         service because Whitaker had so many of his own workers.

51.      Later that day, Martin sent an email as follows:

              “From: James Martin <jamesmartinusvi@earthlink.net>
              Subject: RENT & Reimbursement USVI
              Date: February 2, 2020 at 7:02:23 PM AST
              To: David Whitaker <david@monethos.com>
              Cc: Ginger Martin <gbmartin1@earthlink.net>

              David

              Ginger delivered you these invoices and I am sending these. They
              are the same ones.

                                  James Clevenger Martin
                                  c o m p a n y
                         Art & Architectural Management Company
                             Texas – New York – Virgin Islands

              James Clevenger Martin, AIA, CSI        3A-21 Estate St Peter
              P.O. Box 306827
              (340) 344-4348 mobile phoneSt Thomas, U.S. Virgin Islands

                                             12
Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 13 of 24



        jamesmartinusvi@earthlink.net                              00803

        February 1, 2020

        David Whitaker
        67 Summit Avenue
        Winthrop, Mass 02152

        RE: 3A-20 Main Villa & 3A-21 Tower Villa
        Estate St Peter
        St Thomas, US Virgin Islands 00802

        MONTHLY RENT & REIMBURSEMENTS:
        FEBRUARY 2020

        S T A T E M E N T
        As per Lease Agreement dated 12-18-2019:

        FEBRUARY 2020 RENT……………………………$ 9,650.00

        Maid Service: 1-1 thru 1-31-2020…………….. 2,000.00
        4 weeks @ $500.00

        UTILITIES:
        Dish TV – 12-31-2019:………………………….$ 199.02
        Dish TV – 1-16-2020:…………………………...$ 191.53
        WAPA Electricity (NO BILLING RECEIVED DURING LEASE
        PERIOD)
        3A-20 Main House Villa
        3A-21 Tower Villa

        TOTAL DUE FEBRUARY 2020
        ……………………………..$ 12,040.55

        CHECKS PAYABLE TO: James Martin

        Please Direct Deposit to:
        James Clevenger Martin
        SS#XXX-XX-XXXX
        BANCO POPULAR de Puerto Rico
        Main Office: Charlotte Amalie, St Thomas, US Virgin Islands
        ROUTING: #021606674
        Account: #193029117
        WIRE ONLY: #0215011 RT
        Please e-mail me when & if Direct Deposit or Wire Only is sent



                                        13
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 14 of 24



              Thank You”


52.      On February 4, 202, Whitaker responded as follows:

              “Hi Ginger,

              I’m sorry that I’m just getting to this, I’m about 400 emails
              behind. We have two major events going and I’m working night
              and day.

              I’m glad to hear things are going well with the guys and
              James. Today, one of my workers asked me to buy plywood for the
              ‘gym’ space. Let’s open a talk about what this looks like going
              forward long-term. I’m happy to keep the guys here working on
              space that we are renting or have access. However, for the other
              areas on the property I feel it is simply is not in my interest to keep
              funding payroll and paying you rent to keep them here while I am
              also having to pay you extra rent for my other guests.

              There is no immediate rush to discuss this. Let’s think about it
              decide what works best for everyone.

              Have a great night!


              My best,

              David”


53.      Whitaker followed that email with a second on February 5, 2020:

              “From: David Whitaker <david@monethos.com>
              Subject: Re: checking in
              Date: February 5, 2020 at 10:48:14 AM AST
              To: Ginger Martin <gbmartin1@earthlink.net>
              Cc: Jonathan Kavner <jonathan@monethos.com>

              Hi Genger [sic],

              When we spoke and texted, I thought the gym would be a fantastic
              idea as a shared space. I was under the impression that the gym space
              would rent-free as a shared area. Milton provided direction to my
              team for repairs and clean up. We also spoke about $5,000 for the
              idea of renting the Architectural Studio and having my guys fixing

                                                14
Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 15 of 24



        it up for me as an office. When I received the below letter from
        James, and specifically the paragraph in bold below, we stopped
        working on the gym space, and we rented the needed space in Red
        Hook. Again, I do not see the benefit of paying for structural repairs
        and such for an area I do not own or even rent.

        Upon return the end of this month, we can start making the necessary
        work in this area. Constructions required: Structural &
        Waterproofing corrections, new walls, new windows, stair caulking,
        exterior tile trim, flagpole replacement & fireplace repair. Other
        items may include: new tile floors, tiled walls, ceiling and walls
        plastered and additional lighting as needed. Plus, rearrangement of
        construction materials and tools. For this area of work, you will
        reimburse to me, the actual cost of all material and labor.

        I did not respond to the letter. After, Milton asked my guys to scrap,
        wash, and paint the outside wall. I then received James' second letter
        requiring that "[I] reimburse all material cost and labor costs" for
        work I had no intention of doing at all in the first place. I already
        pay the GC $1,600 a week, the carpenter $1,400, the electrician
        $1,500, and their helper $800 in addition to their housing. I have
        also been paying for gardeners, two housekeepers, and $500 a week
        for your staff. When asked to reimburse you for labor for the people
        I employee was confusing and frustrating.

        This morning, I spoke with James. I offered to keep the guys here
        for his use as needed, provided he buys supplies and includes
        consideration for our housing needs when we have a guest that does
        not have space to sleep due to workers filling up the Tower space
        we have rented for that purpose.

        James informed me that my workers do not speak English (they do
        speak English); they are not available during times that he needs to
        work, and they work past 5:00. I overheard a conversation this
        morning while walking to my car of James speaking to your staff
        that frankly made me sad.

        The next couple of weeks are crucial to my business.

        If the use of my team is needed, feel free to reach out to me directly.
        I am happy to provide labor on a per-project basis. We can work off
        an approved estimate of a written estimate and scope of work for
        payment consideration or a reduction in rent.

        Hope you're having fun off the island, let's grab lunch one day next
        week?”

                                          15
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 16 of 24




54.      On February 6, 2020, expecting a high-profile client, Whitaker sent the

         following to Martin:

              “FYI. We have, REDACTED (very big movie star) coming with
              in and out over the next weeks. The last time that he was here, he
              said someone thought he was our maintenance man. I have provided
              the link to the profile of him below.”

55.      Over the next weeks, Whitaker inquired with increasing frequency about the

         lagging repairs to the Property and continued to invest money into improving

         the Property that he believed was available for five years under the terms of

         the Lease.

56.      On February 12, 2020, Martin informed Whitaker, “Thank you (for

         offering to make repairs]. If you want to have [your team] get [the

         materials] and I will give you cash this afternoon.”

57.      On February 13, 202, Martin asked about February rent. The parties

         discussed disagreement over the additional charges being sought by Martin.

58.      That day, Whitaker notified Martin of a fall his client had on Property,

         provided photos, and requested insurance information. As of the time of this

         filing, Martin ahs not released insurance information.

59.      On February 14, 202, Martin emails another invoice seeking amounts in

         excess of the rent due under the lease. Whitaker asked for reimbursement

         for his work based on what Martin would have paid and stated, you do not

         have to pay what I paid for the better items, just whatever you would have

         paid to repair and replace.


                                             16
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 17 of 24



60.      On February 19, 202, Whitaker wired Martin $8,259.45, deducting two weeks

         of maid services that was not provided and dish tv charges for dish that was

         not provided. Martin demanded $12,040.55.

61.      Martin later demanded payment for electric utility service at the rate of

         nearly $100.00 per day and provided not bill.

62.      During the period from late December 2029 until late February when the

         landlord entered the premises and changed the locks, Whitaker made the

         following payments to Martin:


                                  Payments to James Martin
  Date                              Description                              Amount
             ONLINE OR MOBILE WIRE TRANSFER REF
02/20/2020                                                                   2,390.55
             20200220F2QCZ60C000509 BNF JAMES CLEVENGER
             ONLINE OR MOBILE WIRE TRANSFER REF
02/19/2020                                                                   8,259.45
             20200219F2QCZ60C003995 BNF JAMES CLEVENGER
             ONLINE OR MOBILE WIRE TRANSFER REF
12/20/2019                                                                  10,650.00
             20191220F2QCZ60C002107 BNF JAMES CLEVENGER
             ONLINE OR MOBILE WIRE TRANSFER REF
12/18/2019                                                                   4,825.00
             20191218F2QCZ60C000546 BNF JAMES CLEVENGER
             ONLINE OR MOBILE WIRE TRANSFER REF
12/17/2019                                                                  19,300.00
             20191217F2QCZ60C000722 BNF JAMES CLEVENGER
                                                                           $45,425.00


63.      During that time, Whitaker made the following payments to workers from Boston

         assisting him on the Property:

                                   Total for Boston Workers
  Date                            Description                                Amount
           ONLINE OR MOBILE WIRE TRANSFER REF
02/24/2020                                                                   1,000.00
           20200224F2QCZ60C003063 BNF ANDRES PIMENTEL
           ONLINE OR MOBILE WIRE TRANSFER REF
02/14/2020                                                                     830.00
           20200214F2QCZ60C001784 BNF ROMER ANDRES


                                             17
   Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 18 of 24



             ONLINE OR MOBILE WIRE TRANSFER REF
02/14/2020                                                           1,240.00
             20200214F2QCZ60C001782 BNF ANDRES PIMENTEL
             ONLINE OR MOBILE WIRE TRANSFER REF
02/07/2020                                                           1,500.00
             20200207F2QCZ60C003913 BNF ANDRES PIMENTEL
             ONLINE OR MOBILE WIRE TRANSFER REF
02/05/2020                                                           1,500.00
             20200205F2QCZ60C002126 BNF ANDRES PIMENTEL
             ONLINE OR MOBILE WIRE TRANSFER REF
01/31/2020                                                           1,570.00
             20200131F2QCZ60C003935 BNF ROMER ANDRES
             ONLINE OR MOBILE WIRE TRANSFER REF
01/27/2020                                                            500.00
             20200127F2QCZ60C000893 BNF ANDRES PIMENTEL
             ONLINE OR MOBILE WIRE TRANSFER REF
01/24/2020                                                           1,200.00
             20200124F2QCZ60C001303 BNF ROMER ANDRES
             ONLINE OR MOBILE WIRE TRANSFER REF
01/24/2020                                                           1,570.00
             20200124F2QCZ60C001300 BNF ANDRES PIMENTEL
             ONLINE OR MOBILE WIRE TRANSFER REF
01/17/2020                                                           1,570.00
             20200117F2QCZ60C001646 BNF ANDRES PIMENTEL
             ONLINE OR MOBILE WIRE TRANSFER REF
01/17/2020                                                           1,200.00
             20200117F2QCZ60C001645 BNF ROMER ANDRES
             ONLINE OR MOBILE WIRE TRANSFER REF
01/14/2020                                                            225.00
             20200114F2QCZ60C000288 BNF ANDRES PIMENTEL
             ONLINE OR MOBILE WIRE TRANSFER REF
01/10/2020                                                           1,200.00
             20200110F2QCZ60C000476 BNF ROMER ANDRES
             ONLINE OR MOBILE WIRE TRANSFER REF
01/10/2020                                                           1,574.00
             20200110F2QCZ60C000474 BNF ANDRES PIMENTEL
             ONLINE OR MOBILE WIRE TRANSFER REF
01/09/2020                                                            100.00
             20200109F2QCZ60C000331 BNF ANDRES PIMENTEL
             ONLINE OR MOBILE WIRE TRANSFER REF
01/03/2020                                                            873.23
             20200103F2QCZ60C000603 BNF ANDRES PIMENTEL
             ONLINE OR MOBILE WIRE TRANSFER REF
01/03/2020                                                            857.00
             20200103F2QCZ60C000601 BNF ROMER ANDRES
             ONLINE OR MOBILE WIRE TRANSFER REF
12/24/2019                                                            500.00
             20191224F2QCZ60C000616 BNF ROMER ANDRES
             ONLINE OR MOBILE WIRE TRANSFER REF
12/20/2019                                                            300.00
             20191220F2QCZ60C000999 BNF ROMER ANDRES
             ONLINE OR MOBILE WIRE TRANSFER REF
12/20/2019                                                           2,000.00
             20191220F2QCZ60C000995 BNF ANDRES PIMENTEL
             ONLINE OR MOBILE WIRE TRANSFER REF
02/28/2020                                                            500.00
             20200228F2QCZ60C000964 BNF JOSE NIETO
             ONLINE OR MOBILE WIRE TRANSFER REF
02/24/2020                                                           1,000.00
             20200224F2QCZ60C003064 BNF JOSE NIETO
             ONLINE OR MOBILE WIRE TRANSFER REF
02/14/2020                                                           1,000.00
             20200214F2QCZ60C001786 BNF JOSE NIETO
             ONLINE OR MOBILE WIRE TRANSFER REF
02/07/2020                                                           1,200.00
             20200207F2QCZ60C003916 BNF JOSE NIETO


                                      18
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 19 of 24



             ONLINE OR MOBILE WIRE TRANSFER REF
01/31/2020                                                                           1,200.00
             20200131F2QCZ60C003934 BNF JOSE NIETO
             ONLINE OR MOBILE WIRE TRANSFER REF
01/24/2020                                                                           1,200.00
             20200124F2QCZ60C001302 BNF JOSE NIETO
             ONLINE OR MOBILE WIRE TRANSFER REF
01/17/2020                                                                           1,200.00
             20200117F2QCZ60C001642 BNF JOSE NIETO
             ONLINE OR MOBILE WIRE TRANSFER REF
01/10/2020                                                                           1,200.00
             20200110F2QCZ60C000475 BNF JOSE NIETO
             ONLINE OR MOBILE WIRE TRANSFER REF
01/03/2020                                                                           1,200.00
             20200103F2QCZ60C000602 BNF JOSE NIETO
             ONLINE OR MOBILE WIRE TRANSFER REF
12/20/2019                                                                            800.00
             20191220F2QCZ60C003892 BNF JOSE NIETO
             ONLINE OR MOBILE WIRE TRANSFER REF
12/20/2019                                                                            875.00
             20191220F2QCZ60C000998 BNF JOSE NIETO
                                                                  Boston Workers $32,684.23


64.      During that time, Whitaker made the following payments to local workers assisting him

         on the Property:

                               Check to Locals - see below
                      Date      Description              Debit

                      02/24/2020 DDA CHECK #0000000167           $690.00

                      02/20/2020 DDA CHECK #0000000114 $2,100.00

                      02/20/2020 DDA CHECK #0000000111 $1,500.00

                      02/19/2020 DDA CHECK #0000000112           $868.91

                      02/12/2020 DDA CHECK #0000000163           $752.26

                      02/12/2020 DDA CHECK #0000000110           $670.00

                      02/10/2020 DDA CHECK #0000000161 $1,000.00

                      02/10/2020 DDA CHECK #0000000109 $1,000.00

                      02/06/2020 DDA CHECK #0000000162           $600.00

                      01/31/2020 DDA CHECK #0000000107           $650.00

                      01/28/2020 DDA CHECK #0000000747 $1,000.00


                                              19
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 20 of 24




                       01/28/2020 DDA CHECK #0000000106 $1,000.00

                       01/28/2020 DDA CHECK #0000000103 $1,250.00

                       01/27/2020 DDA CHECK #0000000105 $1,200.00

                       01/24/2020 DDA CHECK #0000000104 $1,200.00

                       01/23/2020 DDA CHECK #0002480744                 $600.00

                       01/23/2020 DDA CHECK #0000000101 $2,000.00

                       01/17/2020 DDA CHECK #0000000746                 $600.00

                       01/16/2020 DDA CHECK #0000000745 $2,000.00

                       01/15/2020 DDA CHECK #0000000742 $1,375.00

                       01/14/2020 DDA CHECK #0000000741 $2,200.00

                       01/14/2020 DDA CHECK #0000000743    $800.00
                                  Total                 $25,056.17


65.      The total amount Whitaker spent on labor at the Property during that time was $57,925.96,

         as well as other household items not available in the furnished Property.

66.      After listing the Property for rent on Craigslist.com, Martin engaged in a pattern and

         practice of deceiving Whitaker and inducing him to investing in a five-year leasehold

         when Martin had no plan to allow Whitaker to remain and, in fact, forcefully evicted

         Whitaker after only two months.

                                              COUNT 1

                                       BREACH OF CONTRACT

67.      Plaintiff adopts paragraphs 7-63 as if fully set out herein.

68.      Martin sought to intimidate Whitaker by filing a report regarding the pruning work

         performed by Whitaker, by entering the Property unannounced and uninvited, and by


                                                 20
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 21 of 24



         forcefully taking the Property, locking Whitaker out, and changing the locks on the

         Property. A copy of a photograph of Martin changing the locks is available on request of

         Plaintiff but is not being filed herewith.

69.      Through these actions, Martin breach the terms of the lease and the rights to quiet

         enjoyment contained therein.

70.      Whitaker, sensing Martin was not acting in good faith, attempted to vacate the premises,

         and did successfully remove his person and many of his belongings, and was forced to

         seek alternate accommodations at added expense.

71.      As a result of Defendant’s actions Plaintiff was substantially and seriously injured.

        WHEREFORE, Plaintiff demands judgment against Defendant in an amount to be

determined by the Court hereby requests compensatory, general, and special damages be

awarded, attorney’s fees and cost, and any other relief the Court deems appropriate.

                                               COUNT 2

                                     FRAUD IN THE INDUCEMENT

72.      Plaintiff adopts paragraphs 7-63 as if fully set out herein.

73.      Defendant intentionally misrepresented, orally and in writing, the possibility of a long-

         term lease with an option to purchase and a cooperative relationship to improve the

         Property in order to induce Plaintiff to enter the contract and make repairs to the Property.

74.      Defendant affirmatively advanced the installation of a fiber option internet connection at

         substantial cost to Plaintiff.

75.      The misrepresentations were fraudulent material to, and the basis of the Lease.

76.      The misrepresentation did induce Plaintiff to enter or continue in a long-term lease and

         invest heavily in the Property.


                                                  21
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 22 of 24



77.      Plaintiff’s reliance on the misrepresentation was reasonable, based on the Lease terms and

         the written correspondence between the parties after the Lease was signed.

78.      Plaintiff suffered serious and significant damage as a result of the misrepresentation.

        WHEREFORE, Plaintiff demands judgment against Defendant in an amount to be

determined by the Court hereby requests compensatory, general, and special damages be

awarded, attorney’s fees and cost, and any other relief the Court deems appropriate.

                                              COUNT 3

                                       FRAUD IN THE FACTUM

79.      Plaintiff adopts paragraphs 7-63 as if fully set out herein.

80.      Defendant intentionally misrepresented, orally and in writing, amounts owed by Plaintiff

         to Defendant, particularly with respect to the use of the Guest House, electric utility

         “reimbursement” and allocation and calculation of repair and improvement work, and

         regarding the broadband internet installation.

81.      The misrepresentations were fraudulent material to Plaintiff’s decisions with respect to

         the Property.

82.      The misrepresentation did induce Plaintiff to make certain payments and complete

         expensive improvements to the Property.

83.      Plaintiff’s reliance on the misrepresentation was reasonable, based on the Lease terms and

         the written correspondence between the parties after the Lease was signed.

84.      Plaintiff suffered serious and significant damage as a result of the misrepresentation.

        WHEREFORE, Plaintiff demands judgment against Defendant in an amount to be

determined by the Court hereby requests compensatory, general, and special damages be

awarded, attorney’s fees and cost, and any other relief the Court deems appropriate.


                                                 22
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 23 of 24



                                              COUNT 4

                    VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

85.      Plaintiff adopts paragraphs 7-63 as if fully set out herein.

86.      Defendant, through his agent attorney, sent a debt collection demand that failed to comply

         with federal law.

87.      Plaintiff is due the statutory penalty of $1,000, as well as attorney’s fees and costs because

         of said violation and pursuant to said law.

88.      Plaintiff was physically injured and emotionally distressed by the forcible entry and unfair

         debt collations practice.

        WHEREFORE, Plaintiff demands judgment against Defendant in an amount of $1,000, as

well as compensatory, general, and special damages be awarded, attorneys fees and costs, and

any other relief the Court deems appropriate.

                                               COUNT 5

                                            NEGLIGENCE

89.      Plaintiff adopts paragraphs 7-63 as if fully set out herein.

90.      Defendant was negligent in the handling of his relationship with Plaintiff.

91.      Defendant had a duty to handle himself as a reasonable person in a manner as to not cause

         harm.

92.      Defendant breached his duty to act as a reasonable person.

93.      Defendant’s breach was the direct and proximate cause of Plaintiff’s injury and damage.

        WHEREFORE, Plaintiff demands judgment against Defendant in an amount to be

determined by the Court hereby requests compensatory, general, and special damages be

awarded, attorney’s fees and cost, and any other relief the Court deems appropriate.


                                                  23
      Case: 3:20-cv-00024-RAM-RM Document #: 1 Filed: 03/06/20 Page 24 of 24



                                              COUNT 6

                       INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

94.      Plaintiff adopts paragraphs 7-63 as if fully set out herein.

95.      Defendant’s conduct in entering and retaking the home, filing a police report for pruning

         work, and barring entry to recover belongings was extreme and outrageous, beyond all

         bounds of decency.

96.      Defendant’s conduct was intention and reckless.

97.      Defendant’s conduct caused severe emotional distress to Plaintiff.

        WHEREFORE, Plaintiff demands judgment against Defendant in an amount to be

determined by the Court hereby requests compensatory, general, and special damages be

awarded, attorney’s fees and cost, and any other relief the Court deems appropriate.



                                               Respectfully submitted,

March 5, 2020                                  FOR THE PLANITIFF:

                                               /s/ Robert V. Goldsmith, III
                                               Robert V. Goldsmith, III
                                               V.I. Bar #R2034
                                               P.O. Box 608
                                               St. Thomas, U.S. Virgin Islands 00804
                                               tgoldsmith@legal-cg.com




                                                 24
